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                             IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE:                                         )       CASE NO. 21-21345-JAD
                                               )
DREANA L. GAINES                               )       CHAPTER 13
       DEBTOR                                  )
                                               )       DOC. NO.:
                                               )
DREANA L. GAINES                               )       HEARING DATE & TIME:
       MOVANT                                  )
                                               )
    V.                                         )
                                               )
PENNYMAC LOAN SERVICES                         )
      RESPONDENT                               )



                                           Loss Mitigation Status Report

This Loss Mitigation Status Report and the attached printout of the Account History Page from the Portal are
submitted pursuant to W.PA.LBR 9020-4(e).


Part 1: Loss Mitigation Status

         A. The Loss Mitigation process was commenced by a Loss Mitigation Order dated 2021-08-03 (the “LMO”),
            entered at document number 35, in the above-mentioned case.
         B. The Debtor is current with adequate protection payments pursuant to the LMO.
         C. The Creditor has registered and posted its entire Core LMP Package on the Portal pursuant to the LMO.
         D. The Debtor has not uploaded a completed Core LMP Package through the Portal pursuant to the LMO due to
            Debtor mailing paperwork to Counsel’s office on 2021-09-27.
         E. The Creditor has not been able to acknowledge receipt of the Debtor’s submission due to Debtor not being able
            to mail all documents to our office until 2021-09-27.
         F. The Creditor has not designated a single point of contact pursuant to the LMO.
         G. The Creditor has not approved the file yet.
         H. The Debtor submitted all requested CORE Documents by mail on 2021-09-27 and Counsel’s office will have
            all documents uploaded to the DMM Portal by 2021-10-06
         I. Counsel’s office will attach a printout of the Account History from the Portal.

Part 2: Loss Mitigation Period

         A. The Loss Mitigation Order Expiration Deadline is 2021-12-01 and the Loss Mitigation Final Report Deadline is
            2021-12-08.



Date: October 4, 2021
                                                            Signed:/s/ Albert G. Reese, Jr., Esquire
                                                                     Albert G. Reese, Jr., Esquire

                                                            On behalf of: Dreana L. Gaines
                                                                          Name of Debtor(s)

                                                            Albert G. Reese Jr.,_______________________________
                                                            Name of Attorney - Typed
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